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     UNITED STATES BANKRUPTCY COURT
     DISTRICT OF NEW JERSEY
     WOLLMUTH MAHER & DEUTSCH LLP
     Paul R. DeFilippo, Esq.
     500 Fifth Avenue
     New York, New York 10110
     Telephone: (212) 382-3300
     Facsimile: (212) 382-0050
     pdefilippo@wmd-law.com
     JONES DAY
     Gregory M. Gordon, Esq.
     Brad B. Erens, Esq.
     Dan B. Prieto, Esq.
     Amanda Rush, Esq.
     2727 N. Harwood Street
     Dallas, Texas 75201
     Telephone: (214) 220-3939
     Facsimile: (214) 969-5100
     gmgordon@jonesday.com
     bberens@jonesday.com
     dbprieto@jonesday.com
     asrush@jonesday.com
     (Admitted pro hac vice)
     PROPOSED ATTORNEYS FOR DEBTOR
     In re:                                                  Chapter 11
     LTL MANAGEMENT LLC, 1                                   Case No.: 23-12825 (MBK)
                             Debtor.                         Judge: Michael B. Kaplan
     LTL MANAGEMENT LLC,
                             Plaintiff,
                                                             Adv. No.: 23-01092 (MBK)
     v.

     THOSE PARTIES LISTED ON APPENDIX A TO
     COMPLAINT and JOHN AND JANE
     DOES 1-1000,
                             Defendants.
                           NOTICE OF AGENDA OF MATTERS
                    SCHEDULED FOR HEARING ON MAY 9, 2023 AT 1:00 P.M.

                        Parties are directed to https://www.njb.uscourts.gov/LTL
                      for appearing via Zoom or in-person, or observing via Zoom




 1
          The last four digits of the Debtor’s taxpayer identification number are 6622. The Debtor’s address is
          501 George Street, New Brunswick, New Jersey 08933.


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 STATUS CONFERENCE GOING FORWARD IN BASE CASE

 1.      Motions to Dismiss the Chapter 11 Case [Dkts. 286, 335, 346, 350, 352, 358, 379, 384].

         Status: The Court will conduct a conference to hear any updates from the parties
         on the scheduling of the pending motions to dismiss.

 CONTESTED MATTERS GOING FORWARD IN ADVERSARY PROCEEDING

 2.      Request of the Official Committee of Talc Claimants for Order Certifying Direct Appeal
         of Preliminary Injunction Order of April 20, 2023 to the United States Court of Appeals
         for the Third Circuit [Adv. Dkt. 84] (the “TCC Request”).

         Status: This matter is going forward.

         Objection Deadline: At hearing, pursuant to the Order Shortening Time Period for
         Notice, Setting Hearing and Limiting Notice.

         Related Documents:

         A.         The Official Committee of Talc Claimants’ Notice of Appeal and Statement of
                    Election [Adv. Dkt. 83] (the “TCC Notice of Appeal”).

         B.         Application for Order Shortening Time [Adv. Dkt. 85].

         C.         Debtor’s Objection to the Application for Order Shortening Time [Adv. Dkt. 86].

         D.         Order Shortening Time Period for Notice, Setting Hearing and Limiting Notice
                    [Adv. Dkt. 87].

         E.         Order Dissolving Temporary Restraining Order, Extending the Automatic Stay,
                    and Granting Limited Preliminary Restraints [Adv. Dkt. 91] (the “Preliminary
                    Injunction Order”).

         F.         Memorandum and Opinion [Adv. Dkt. 94] (the “Preliminary Injunction
                    Opinion”).

         G.         The Official Committee of Talc Claimants’ Amended Notice of Appeal and
                    Statement of Election [Adv. Dkt. 103] (the “TCC Amended Notice of Appeal”).

 3.      Ad Hoc Group of Mesothelioma Claimants’ Motion for Order Certifying Direct Appeal
         of Preliminary Injunction Order of April 20, 2023 to the United States Court of Appeals
         for the Third Circuit [Adv. Dkt. 88].

         Status: This matter is going forward.

         Objection Deadline: At hearing, pursuant to the Order Shortening Time Period for
         Notice, Setting Hearing and Limiting Notice.


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         Related Documents:

         A.         The TCC Notice of Appeal.

         B.         The Preliminary Injunction Order.

         C.         The Preliminary Injunction Opinion.

         D.         The TCC Amended Notice of Appeal.

 4.      Paul Crouch Motion and Joinder for Order Certifying Direct Appeal of Preliminary
         Injunction Order of April 20, 2023 to the United States Court of Appeals for the Third
         Circuit [Adv. Dkt. 89].

         Status: This matter is going forward.

         Objection Deadline: At hearing, pursuant to the Order Shortening Time Period for
         Notice, Setting Hearing and Limiting Notice.

         Related Documents:

         A.         The TCC Notice of Appeal.

         B.         The Preliminary Injunction Order.

         C.         The Preliminary Injunction Opinion.

         D.         The TCC Amended Notice of Appeal.

 5.      Motion of Ad Hoc Committee of Supporting Counsel to Intervene [Adv. Dkt. 104].

         Status: This matter is going forward.

         Objection Deadline: At hearing, pursuant to the Order Shortening Time Period for
         Notice, Setting Hearing and Limiting Notice.

         Related Documents:

         A.         Application for Order Shortening Time [Adv. Dkt. 105].

         B.         Order Shortening Time Period for Notice, Setting Hearing and Limiting Notice
                    [Adv. Dkt. 106].




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  Dated: May 5, 2023                         WOLLMUTH MAHER & DEUTSCH LLP

                                             /s/ Paul R. DeFilippo
                                             Paul R. DeFilippo, Esq.
                                             James N. Lawlor, Esq.
                                             Joseph F. Pacelli, Esq. (admitted pro hac vice)
                                             500 Fifth Avenue
                                             New York, New York 10110
                                             Telephone: (212) 382-3300
                                             Facsimile: (212) 382-0050
                                             pdefilippo@wmd-law.com
                                             jlawlor@wmd-law.com
                                             jpacelli@wmd-law.com

                                             JONES DAY
                                             Gregory M. Gordon, Esq.
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                                             Dan B. Prieto, Esq.
                                             Amanda Rush, Esq.
                                             2727 N. Harwood Street
                                             Dallas, Texas 75201
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